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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                         Criminal No. 18-278 (DSD/KMM)


 UNITED STATES OF AMERICA,                )
                                          )             MOTION TO AMEND
                      Plaintiff,          )           SENTENCING JUDGMENT
        v.                                )
                                          )
 ROBERT ANTHONY COLEMAN,                  )
                                          )
                      Defendant.          )


       The United States of America, by and through its attorneys, Erica H. MacDonald,

United States Attorney for the District of Minnesota, and Lindsey E. Middlecamp, Special

Assistant United States Attorney, hereby submits its Motion to Amend this Court’s

Sentencing Judgment [Dkt. No. 108].

       On October 23, 2019, this Court entered a sentencing judgment as to Robert

Anthony Coleman which required him to self-surrender to custody of the Bureau of Prisons

on May 18, 2020.

       On March 27, 2020, the Bureau of Prisons communicated concerns about its ability

to safely effectuate the defendant’s self-surrender during the COVID-19 global pandemic.

Such concerns included bed availability, the need to screen and quarantine inmates entering

custody, and the refusal or inability of municipal or county jails to assist in COVID-19

quarantine and transfer logistics for incoming inmates.

       Based on these concerns, the United States moves the Court to amend its sentencing

judgment to allow flexibility to the Bureau of Prisons in effectuating Defendant Coleman’s
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sentence. Specifically, on behalf of the Bureau of Prisons, the United States requests the

Court extend the date of Defendant Coleman’s self-surrender to July 20, 2020. The United

States has discussed this motion with the defense, who supports this motion.




Dated: April 15, 2020
                                                Respectfully Submitted,

                                                ERICA H. MacDONALD
                                                United States Attorney

                                                /s/ Lindsey E. Middlecamp

                                                BY: LINDSEY E. MIDDLECAMP
                                                Special Assistant U.S. Attorney
                                                Attorney ID No. 0392589




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